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                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  10   MASTEROBJECTS, INC.,
                                  11                  Plaintiff,                            No. C 21-05428 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   META PLATFORMS, INC.,                                NOTICE RE TRIAL SCHEDULE
                                  14                  Defendant.

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                                  17        Your trial is set for November 7 but, due to a criminal trial starting October 31, your trial

                                  18   will trail the completion of the criminal trial as needed. So, please plan accordingly and have

                                  19   your witnesses do so as well.

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                                  22   Dated: September 12, 2022.

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                                                                                              WILLIAM ALSUP
                                  25                                                          UNITED STATES DISTRICT JUDGE
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